8:16-cv-01563-HMH    Date Filed 05/16/16   Entry Number 1-1   Page 1 of 14




                       Exhibit A
                    (State Court Pleadings)
8:16-cv-01563-HMH   Date Filed 05/16/16   Entry Number 1-1   Page 2 of 14
8:16-cv-01563-HMH   Date Filed 05/16/16   Entry Number 1-1   Page 3 of 14
8:16-cv-01563-HMH   Date Filed 05/16/16   Entry Number 1-1   Page 4 of 14
8:16-cv-01563-HMH   Date Filed 05/16/16   Entry Number 1-1   Page 5 of 14
8:16-cv-01563-HMH   Date Filed 05/16/16   Entry Number 1-1   Page 6 of 14
8:16-cv-01563-HMH   Date Filed 05/16/16   Entry Number 1-1   Page 7 of 14
8:16-cv-01563-HMH   Date Filed 05/16/16   Entry Number 1-1   Page 8 of 14
8:16-cv-01563-HMH   Date Filed 05/16/16   Entry Number 1-1   Page 9 of 14
8:16-cv-01563-HMH   Date Filed 05/16/16   Entry Number 1-1   Page 10 of 14
8:16-cv-01563-HMH   Date Filed 05/16/16   Entry Number 1-1   Page 11 of 14
8:16-cv-01563-HMH   Date Filed 05/16/16   Entry Number 1-1   Page 12 of 14
8:16-cv-01563-HMH   Date Filed 05/16/16   Entry Number 1-1   Page 13 of 14
8:16-cv-01563-HMH   Date Filed 05/16/16   Entry Number 1-1   Page 14 of 14
